                     IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

   IN RE:                                         CASE NO. 17-50236

   DEBTOR                                         CHAPTER 7

   LOUIS ANTHONY TELERICO                         JUDGE ALAN M. KOSCHIK

                                                  TRUSTEE KATHRYN A.
                                                  BELFANCE’S RESPONSE IN
                                                  OPPOSITION TO CREDITOR
                                                  UNITED STATES OF AMERICA’s
                                                  MOTION TO ALTER OR AMEND
                                                  ORDER FOR TURNOVER AND TO
                                                  SHOW CAUSE



            Now comes Kathryn A. Belfance, the Trustee herein, and provides her Response

   in Opposition to Creditor United States of America (“Internal Revenue Service”) Motion

   to Alter or Amend Order for Turnover and to Show Cause.

      1. The Debtor, Louis Telerico, filed a voluntary petition under Chapter 11 of the

      United States Bankruptcy Code on February 5, 2017. On April 18, 2019 the case was

      converted to a Chapter 7 proceeding and Kathryn A. Belfance was appointed to serve

      as the Trustee (the “Chapter 7 Trustee”).

      2. In 2012, the United States of America, Internal Revenue Service (the “IRS”) filed

      a notice of levy (the “Tax Levy”) on the Debtor’s interest in Merrill Lynch & Co.,

      Inc. Deferred Compensation Plan (the “Deferred Compensation Plan”).

      3. On March 1, 2017, after Debtor’s filing of the petition, the IRS released the Tax

      Levy and notified the Deferred Compensation Plan.




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      4. On April 12, 2019, the Court issued an order requiring the Deferred

      Compensation Plan to pay all remaining sums to which the Debtor may be entitled to

      this bankruptcy estate for distribution pursuant to later order of the Court [Doc. No.

      240] (the “Turnover Order”).

      5. On April 25, 2019, the IRS filed a motion asking this Court to alter or amend the

      Turnover Order to state that any funds the Chapter 7 Trustee receives form the

      Deferred Compensation Plan will be treated as cash collateral, subject to the IRS’s

      federal tax liens and segregated according to 11 U.S.C §§ 363(c)(4). [Doc. No. 247] .

      6. The Chapter 7 Trustee is not operating any business of the Debtor pursuant to 11

      U.S.C. § 721.

      7. Part 5, Chapter 17, Section 9 of the IRS’s Internal Revenue Manual found at

      https://www.irs.gov/irm/part5/irm_05-017-009 demonstrates why requests for

      adequate protection are unwarranted in Chapter 7 cases where, as here, the Trustee is

      not operating the debtor’s business pursuant to Section 721:

         “5.17.9.12 (04-21-2015)
         Adequate Protection and Turnover

      1. The concepts of adequate protection and turnover in bankruptcy are
         explained in IRM 5.17.8.11, General Provisions of Bankruptcy, Adequate
         Protection, and IRM 5.17.8.24, General Provisions of Bankruptcy,
         Turnover to the Trustee — Assets Seized Pre-petition, respectively.

      2. In Chapter 7 cases, adequate protection should rarely be the basis for the
         IRS to resist turning over property of the estate to the trustee. In most
         instances, adequate protection arguments are not warranted or reasonable.
         A secured tax claim in a Chapter 7 case is subordinated to unsecured
         priority claims pursuant to 11 USC § 724. The IRS is only entitled to
         amounts determined by the distribution scheme established in 11 USC §
         726.

      3. 11 USC § 721 allows the court to authorize the Chapter 7 trustee to
         operate the debtor's business for a limited period. The operation must be




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         in the best interest of the estate and consistent with the orderly liquidation
         of the estate. For example, the trustee may continue operating the debtor's
         business to sell it at a higher price as a going concern. It may be more
         reasonable for IRS to make an argument for adequate protection of the
         Service's secured interests in these limited cases.”

      8. Cash collateral agreements between the IRS and Chapter 7 trustees regarding

      secured tax liens have, in fact, been held to be unenforceable on multiple occasions as

      violating §724 of the Bankruptcy Code. See, e.g., In re Life Imaging Corp., 131 B.R.

      174, 176 (Bankr.D.Colo.1991)(refusing to enforce substitute lien provided to IRS on

      post-petition property); In re Bino's Inc., 182 B.R. 784, 785(Bankr.N.D.Ill.1995)(cash

      collateral order violated the subordination provisions of 11 U.S.C.S. § 724(b) and

      impermissibly granted the taxing authorities superpriority).

      9. In any event, there is no legitimate threat that payments from the Deferred

      Compensation Plan received and held by the Trustee for distribution under the

      Bankruptcy Code will decrease in value while in the Trustee’s hands. The asset held

      by the Trustee is money that the Trustee will safeguard in the same manner that she is

      required to do with all funds brought into the estate prior to distribution. Ultimately,

      pursuant to the Turnover Order, the Trustee will distribute the Debtor’s interest in the

      Deferred Compensation Plan under the distribution scheme set forth by 11 U.S.C. §

      724 and the IRS will receive the amounts to which it is entitled pursuant to the

      distribution scheme, as approved by an order of the Court.

      10. The protections set forth in subsection (c) of 11 U.S.C. § 363, including its

      subpart (c)(4) requiring segregation of cash collateral into a separate account, address

      only situations where the debtor in possession or trustee is continuing to operate the




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      debtor’s business during pendency of the case. The Senate Judiciary Report

      accompanying the same legislative enactment explains:

            Subsection (c) governs use, sale, or lease in the ordinary course of
            business. If the business of the debtor is authorized to be operated
            under § 721, 1108, or 1304 of the bankruptcy code, then the trustee may
            use, sell, or lease property in the ordinary course of business or enter
            into ordinary course transactions without need for notice and hearing.
            This power is subject to several limitations. First, the court may restrict
            the trustee's powers in the order authorizing operation of the business.
            Second, with respect to cash collateral, the trustee may not use, sell, or
            lease cash collateral except upon court authorization after notice and a
            hearing, or with the consent of each entity that has an interest in such
            cash collateral. The same preliminary hearing procedure in the automatic
            stay section applies to a hearing under this subsection. In addition, the
            trustee is required to segregate and account for any cash collateral in
            the trustee's possession, custody, or control.

      S. Rept. No. 95-989 to accompany S. 2266, 95th Cong., 2d Sess. (1978) pp. 55, 56,

      60. (Emphasis added.)

      10. As supported by the legislative history of § 363, its subpart (c)(4) has no

      application where, as here, the Chapter 7 Trustee is simply marshaling estate assets to

      distribute pursuant to the Bankruptcy Code and is not continuing to operate the

      Debtor’s business.

            WHEREFORE, the Trustee respectfully requests that the Court deny Creditor

   United States of America’s Motion to Alter or Amend Order for Turnover and to Show

   Cause.

                                                 /s/ KATHRYN A. BELFANCE
                                                 KATHRYN A. BELFANCE (0018035)
                                                 Chapter 7 Trustee
                                                 50 S. Main Street, 10th Floor
                                                 Akron, Ohio 44308
                                                 (330) 434-3000, telephone
                                                 (330) 434-9220, fax
                                                 kb@rlbllp.com




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                               CERTIFICATE OF SERVICE

          I hereby certify that on this 29th day of May 2019, a true and correct copy of the
   foregoing was served as follows:

   Via the Court’s Electronic Case Filing System on these entities and individuals who are
   listed on the Court’s Electronic Mail Notice List:

   Office of the U.S. Trustee
   Susan J. Lax, at susan.lax@hotmail.com
   Frederic P. Schwieg, at fschwieg@schwieglaw.com
   Todd A. Atkinson, at tatkinson@ulmer.com
   Philip Leonard Bednar, at philip.l.bednar@usdoj.gov
   Bryan J. Farkas, at bjfarkas@vorys.com
   Scott D. Fink, at ecfndoh@weltman.com
   Stephen R. Franks, at amps@manleydeas.com
   Bryan T. Kostura, at bkostura@mcglinchey.com
   Allison Manayan, at amanayan@portageco.com
   Michael J. Occhionero, at mjocolpa@sbcglobal.net
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   Richard P. Schroeter, at rschroeter@amer-collect.com
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   Joshua Ryan Vaughan, at jvaughan@amer-collect.com
   Steven L. Wasserman, at swasserman@westonhurd.com
   Maria D. Giannirakis, ust06 maria.d.giannirakis@usdoj.gov
   Scott R. Belhorn, ust35 Scott.R.Belhorn@usdoj.gov
   Kathryn A. Belfance, Trustee, at kb@rlbllp.com

   And by regular U.S. mail, postage prepaid, on:

   Louis Anthony Telerico, Debtor, P.O. Box 928, Aurora, OH 44202
   Also served at 545 Bristol Dr., Aurora, OH 44202

   Daniel Miller, 221 Summit Street SE, North Canton, OH 44720
   Deborah Nashmy, Blue Rock Select LLC, 7395 Center St, Mentor, OH 44060
   PRA Receivables Management, LLC, PO Box 41021, Norfolk, VA 23541


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